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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                       Case No.: 1:21-CV-22441-SCOLA, JR./GOODMAN

 DONALD J. TRUMP, the Forty- Fifth
 President of the United States,
 INDIVIDUALLY AND ON BEHALF OF A
 CLASS OF PERSONS SIMILARLY
 SITUATED,

         Plaintiff and the Class,

 vs.

 TWITTER, INC., and JACK DORSEY,

         Defendants.
                               _______________ /

                                 NOTICE OF ENTRY OF PARTIES

         Donald J. Trump, 45th President of the United States, et al., by and through their counsel,

 files this Notice of Entry of Parties, requesting addition of Rafael Barboza, Dominick Latella,

 Wayne Allyn Root, Naomi Wolf, as parties to the matter, which were not added at the time of the

 filing of the Amended Complaint for Injunctive and Declaratory Relief.

                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing Notice of Constitutional

 Question was served by CM/ECF filing system on August 5, 2021, on all counsel or parties of

 record on the service list.                                 Respectfully submitted by,

                                                    /s/ Matthew Lee Baldwin, Esq
                                                    Fla. Bar No.: 27463
                                                    Email: Matthew@VargasGonzalez.com
                                                    Vargas Gonzalez Baldwin
                                                    Delombard, LLP
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